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SouTHERN DlsTRlcT oF FLoRlDA

NO.: 91-OQBS-C|V-GOLD/Sll\/|ONTON »
Special |\/laster Thomas E. Scott

ALLAPATTAH SERV|CES, lNC., et a|.,
P|aintiffs,

v.

EXXON CORPORAT|ON,

Defendant.

 

RUSSELL A. CL|NE,
CONSOL|DATED VV|TH
CASE NO.: 05-21338-CIV
GOLD/ S||\/|ONTON

P|aintiff,
Vs.
THE GARDEN C|TY GROUP, |NC.,

Defendant.

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ORDER REQU|R|NG SUPPLE|VIENTAL RESPONSES CONCERN|NG
PROPOSED SETTLEN|ENT AGREE|V|ENTS BETWEEN CLASS AND TPSP’S

TH|S CAUSE is before the Speoia| l\/laster pursuant to the Order on Class
Counsel and Three Third Party Service Providers, CARS, NEDG, AND CARS’s
Joint l\/lotion for Expedited Approva| of Settlement Agreement (“Claims Services’
Sett|ement Order”), [D.E. 3497], and the Order Canceling Evidentiary l~learing
Concerning Disputes Between Claimants and Russell Cline (“Cline Settlement
Order”). [D.E. 3528]. On January 29, 2007, the Speoial l\/laster held a hearing to
consider preliminary approval of the proposed settlement agreements between

the Class and Class Action Reoovery Sen/ices, National Equity Development

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Group, lnc., Class Action Refund, LLC; and Russell A. Cline. At the hearing, the
undersigned posed several critical issues for briefing by the parties before any of
the proposed settlement agreements can be preliminarily approved. Therefore,
based upon the proceedings, it is hereby

ORDERED AND ADJUDGED as follows:

1. By no later than February 6, 2007, Class counsel and at least one
representative for the settling Claims Services and l\/lr. Cline shall submit a brief
addressing, at length, the following crucial issues before the proposed settlement
agreements can be preliminarily approved:

A. Whether Federal Rule of Civil Procedure 23 must be invoked
to effectuate the proposed settlement agreements (including
consideration of whether separate classes must be certified,
class representatives named, and separate notices
concerning certification and settlement served);

B. lf Federal Rule of Civil Procedure 23 is not to be invoked,
provide a detailed explanation of how the settlement
agreements will be effectuated Consideration should be
given to the manner in which notice of the proposed
settlement agreements will be provided to effected class
members. The parties shall also address whether Class
counsel shall become the individual attorney for class

members with respect to these settlement agreements

 

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C. Assuming, arguendo, that Federal Ru|e of Civil Procedure 23
applies to these settlements, provide a summary analysis of
whether the agreements meet the “fairness” requirements for
settlements under controlling law. The analysis should also
contemplate whether the proposed communications to class
members satisfy the mandatory notice provisions of Rule 23
and, if not, what additional matters must be included in the
communication to conform to Ru|e 23.

D. Provide a detailed explanation of who will bear the fees and
costs associated with both a Rule 23, and non-Rule 23
settlement proposal

E. Al| proposed communications to the Class on these matters

shall be supplied pursuant to this Order.

DONE AND ORDERED at |\/liami, Floridat li 50 day oft /£/mar§( 2007.

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Copies furnished to:
United States District Court Judge A|an S. Gold
All counsel of record

